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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                    Plaintiff,                                    8:12CR311

      vs.
                                                       ORDER EXTENDING TIME FOR
DYLAN PATTERSON,                                           SELF-SURRENDER

                    Defendant.


      This matter is before the court on the parties’ joint oral motion to continue the

defendant’s self-surrender date. After considering the matter, the court will grant the

motion.

      IT IS THEREFORE ORDERED that the date for the defendant, Dylan Patterson,

to self-surrender to the facility designated by the Bureau of Prisons is extended to 2:00

p.m. on June 4, 2014.

      Dated this 28th day of April, 2014.

                                                  BY THE COURT:
                                                  s/ Joseph F. Bataillon
                                                  United States District Judge
